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            8                           UNITED STATES DISTRICT COURT
            9                          CENTRAL DISTRICT OF CALIFORNIA
          10                                    WESTERN DIVISION
          11     SETH SHAPIRO,                               CASE NO. 2:19-CV-8972 (CBM)
          12                       Plaintiff,                [PROPOSED] ORDER GRANTING
                                                             DEFENDANT AT&T MOBILITY
          13           v.                                    LLC’S MOTION TO DISMISS THE
                                                             PLAINTIFF’S THIRD AMENDED
          14     AT&T MOBILITY LLC,                          COMPLAINT
          15                       Defendant.
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Gibson, Dunn &
Crutcher LLP
                  [PROPOSED] ORDER GRANTING AT&T MOBILITY LLC’S MOTION TO DISMISS THE PLAINTIFF’S THIRD
                                     AMENDED COMPLAINT – CASE NO. 2:19-CV-8972 (CBM)
         Case 2:19-cv-08972-CBM-FFM Document 64-1 Filed 06/02/21 Page 2 of 2 Page ID #:1470


            1          This matter is before the Court on Defendant AT&T Mobility LLC’s (“AT&T”)
            2    Motion to Dismiss Count 6 of Plaintiff Seth Shapiro’s Third Amended Complaint under
            3    Rule 12(b)(6) of the Federal Rules of Civil Procedure.
            4          Good cause appearing, IT IS HEREBY ORDERED that:
            5          AT&T’s Motion is GRANTED in its entirety because Plaintiff fails to state a claim
            6    for relief as to Count 6 (Concealment) because he has not alleged that AT&T had a duty to
            7    speak or that he was unaware of the allegedly concealed facts. Hoffman v. 162 N. Wolfe LLC,
            8    228 Cal. App. 4th 1178, 1186 (2014), as modified on denial of reh’g (Aug. 13, 2014); Sanders v.
            9    Apple Inc., 672 F. Supp. 2d 978, 986 (N.D. Cal. 2009); Terpin v. AT&T Mobility, LLC, 2020
          10     WL 5369410 (C.D. Cal. Sept. 8, 2020).
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          12     IT IS SO ORDERED.
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          14     DATED: __________________, 2021                   _________________________________
                                                                   The Honorable Consuelo B. Marshall
          15                                                       UNITED STATES DISTRICT JUDGE
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Gibson, Dunn &                                                 2
Crutcher LLP
                  [PROPOSED] ORDER GRANTING AT&T MOBILITY LLC’S MOTION TO DISMISS THE PLAINTIFF’S THIRD
                                     AMENDED COMPLAINT – CASE NO. 2:19-CV-8972 (CBM)
